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UNITED STATES DISTRIC'I‘ COURT_
Western District of Tenness§§]‘”~~

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UNITED STATES OF AMERICA

      

 

Plaintiff, HUDM _b;iiamo
Vp;_§m<_ ' ;:» sT. cr
vs. Case Number 2'.92€12203`§’§\'1?%¥31\41 \/

2:93CR20181- 01- M
DERRICK MEANS
Defendant.

*A-M-E-N-D-E-D JUDGMENT AND COMMITMENT ORDER

ON SUPERVISED RELEASE VIOLATION
(For Offenses Committed On or After November 1, 1937)

The defendant, Derrick Means, was represented by Mary Catherine Jermann, Esq.

It appearing the defendant, who was sentenced in the above styled cause and was
placed on Supervised Release for a period of three (3), has violated the terms of
Supervised Release.

It is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant be committed to the custody of the United States Bureau
of Prisons to be *imprisoned for a term of twentv-four (24) months as to case
2:92CR20332-01-Ml and twenty-four (24) months as to case 2:93CR20181-01-Ml. Both cases
are to be served concurrently with each other for a total term of incarceration of
twenty-four (24) months. No further supervision is imposed.

The defendant is remanded to the custody of the United States Marshal.

Signed this the §é\. day of May, 2005.

»» W@QQ

JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

    

 

Defendant'$ SS NO.: XXX-XX-XXXX

Defendant's Date of Birth: 05/05/1960

U.S. Marshal No.: 13717-076

Defendant's Mailinq Address: 4814 Newton Drive, Memphis, TN 38109

This document entered on the docket sheet In co piiance
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UNITED sTATEs DISTRIC COURT - WESTER DI's'TRICT oF ENNESSEE

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This notice confirms a copy of the document docketed as number 101 in
case 2:92-CR-20332 Was distributed by faX, mail, or direct printing on
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Mary Catherine Jermann
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Honorable J on McCalla
US DISTRICT COURT

